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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA


                                          CIVIL MINUTES – GENERAL

    Case No.     LA CV17-06648 JAK (GJSx)                                         Date    September 1, 2021
    Title        James N.H. Seagrim et al. v. Geoffery Owen Cassidy et al.
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    Present: The Honorable            JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                       T. Jackson                                              Not Reported
                      Deputy Clerk                                      Court Reporter / Recorder
              Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                        Not Present                                             Not Present


    Proceedings:             PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AGAINST
                             DEFENDANT GEOFFREY OWEN CASSIDY (DKT. 131)

I.          Introduction

On September 8, 2017, James N.H. Seagrim (“Seagrim”), Stephen M. Walter (“Walter”), Zetta Jet Pte.
Ltd. (“Zetta PTE”) and Zetta Jet USA, Inc. (“Zetta USA”) brought this action against Geoffery O.
Cassidy (“Cassidy”), Miranda J. Tang (“Tang”) and Asia Aviation Holdings Pte. Ltd. (“Asia Aviation”).
The Complaint advances nine causes of action: (i) violation of the Racketeer Influenced and Corrupt
Organizations Act; (ii) intentional misrepresentations (fraud); (iii) concealment; (iv) false promises; (v)
conversion; (vi) breach of fiduciary duty; (vii) abuse of control; (viii) corporate waste; and (ix) unjust
enrichment. Dkt. 1.

Defendants Tang and Asia Aviation were dismissed on November 22, 2017 and August 2, 2018,
respectively. Dkts. 19, 56. Thereafter, on November 5, 2018, Plaintiffs Seagrim and Walter withdrew as
parties. Dkt. 62. Zetta PTE and Zetta USA filed separate voluntary bankruptcy petitions under Chapter
11, and a motion to approve joint administration of the bankruptcy cases was granted. Dkt. 56 at 5.1
Jonathan D. King was appointed as the bankruptcy trustee (the “Trustee”). Id. On August 2, 2018, it
was determined that the claims advanced by Zetta PTE and Zetta USA are the property of their
respective bankruptcy estates, and the Trustee is the real party in interest. Id. at 6. Thus, the remaining
parties are plaintiffs -- the Trustee (as the real party in interest), and Zetta PTE and Zetta USA (as
nominal plaintiffs) (collectively, “Plaintiffs”) -- and Defendant Cassidy. On February 13, 2019, counsel
for Cassidy withdrew from the action, and Cassidy proceeded as a self-represented litigant. Dkts. 66,
77. On January 8, 2021, Cassidy was sanctioned pursuant to Fed. R. Civ. P. 37. Dkt. 126 at 4. As part
of those sanctions, the Answer filed by Cassidy was stricken. Id. The Clerk was directed to enter a
corresponding default. Id.

On February 19, 2021, Plaintiffs filed a Motion for Default Judgment Against Defendant Geoffrey Owen
Cassidy. Dkt. 131 (the “Motion”). Based on a review of the matters presented by the Motion, and
pursuant to L.R. 7-15, a determination was made that the Motion may be decided without oral
argument. Dkt. 133. For the reasons stated in this Order, the Motion is GRANTED-IN-PART.


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     The bankruptcy proceedings were later converted from Chapter 11 cases to Chapter 7 cases. Dkt. 56 at 5.
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II.         Factual and Procedural Background

            A.    The Parties

Zetta PTE is a Singapore corporation whose principal place of business is there. Cassidy Decl., Dkt.
23-2 ¶ 5. It provides “private, international luxury jet travel for high net-worth individuals.” Id. Zetta USA
is a wholly owned subsidiary of Zetta PTE. Seagrim Decl., Dkt. 38-1 ¶ 2. Zetta USA is a California
corporation whose principal place of business is here. Id. ¶ 55. As noted, the Trustee holds that position
as to the respective bankruptcy estates of Zetta PTE and Zetta USA. Seagrim and Walter are both
citizens of California. They are minority shareholders of Zetta PTE and members of the board of
directors of the Zetta Entities. Id. ¶¶ 1-2, 7. Seagrim was, at all relevant times, the Director of
Operations for the Zetta Entities. Id. ¶ 2. Walter was, at all relevant times, the Director of Sales for Zetta
PTE and the President of Zetta USA. Id. ¶ 7. Cassidy is domiciled in Singapore. Cassidy Decl., Dkt. 23-
2 ¶¶ 1-2. Cassidy was, at all relevant times, the Managing Director of Zetta PTE. Id. ¶ 5. He was also a
director and 51% shareholder of Asia Aviation. Id. ¶¶ 1, 3.2 Asia Aviation is incorporated in Singapore
and has its principal place of business there. Id. ¶ 3. Asia Aviation is a 34% shareholder of Zetta PTE.
Id.; Seagrim Decl., Dkt. 38-1 ¶ 56.

            B.    Allegations in the Complaint

                  1.      The Alleged Misappropriation

The principal basis for the claims advanced in this action is Cassidy’s alleged misappropriation of
corporate funds of Zetta PTE for unauthorized personal use. See, e.g., Dkt. 1 ¶ 41. The Complaint
alleges that, among other things, Cassidy used Zetta PTE’s funds to purchase and/or renovate certain
“motoryacht[s],” as well as real property in France and Singapore. Id. ¶¶ 41-42. It also alleges that
Cassidy used funds of Zetta PTE to purchase luxury automobiles in Singapore and to host “extravagant
gatherings” in Monaco, Los Angeles and Macao. Id. ¶¶ 43-44. It alleges that Cassidy used aircraft
owned by Zetta PTE for his own benefit without prior authorization from the board of directors. Id.
¶¶ 45-50. For example, it alleges that in February 2017, Cassidy used a corporate aircraft to transport
himself and a friend from Tokyo to Los Angeles “without any payment or reimbursement” to Zetta PTE
and/or Zetta USA. Id. ¶ 47. The Complaint also alleges that Cassidy received “illegal” and “secret”
kickbacks for five Bombardier aircraft purchases made by Zetta PTE in 2017. Id. ¶¶ 53-55.

                  2.      The Alleged Capital Infusion Deal

The Complaint alleges that, in June 2017, Cassidy made certain misrepresentations to Seagrim and
Walter. They included that it was necessary for each of them, and Asia Aviation, to relinquish seven
percent of their respective Zetta PTE shares in order to secure an investment from Truly Great Global
Limited (“TGGL”). Id. ¶¶ 62-63. It alleges that TGGL had actually conditioned its investment on
receiving ten percent -- not 21 percent -- of Zetta PTE’s shares. Id. ¶ 64. The Complaint alleges that
despite Cassidy’s representations, Asia Aviation did not contribute any of its Zetta PTE shares to obtain

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    The remaining 49% interest in Asia Aviation is held by Tang. Cassidy Decl., Dkt. 23-2 ¶ 3.
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TGGL’s investment (the “Capital Infusion Deal”). Id. ¶ 65. It alleges that Cassidy instead “took by
deceit” two percent of the shares owned by Seagrim and Walter. Id. ¶ 66.

The Complaint alleges that the Capital Infusion Deal diluted Walter’s ownership interest in Zetta PTE
from approximately 30 to 23 percent and Seagrim’s ownership interest from approximately 33.3 to 13
percent. Id. ¶¶ 68, 70. It alleges that on August 17, 2017, a majority of Zetta PTE’s board of directors
voted to remove Cassidy from his position as Managing Director. Id. ¶ 74.

            C.    Procedural Background

On August 5, 2019, Plaintiff moved for sanctions pursuant to Fed. R. Civ. P. 37. Dkt. 99 (the “Motion for
Sanctions”). On February 18, 2020, an Order issued deferring a ruling on the Motion for Sanctions,
setting deadlines for Plaintiffs to make certain filings and for Cassidy to serve on Plaintiffs certain
discovery responses. Dkt. 104 at 4-5 (the “Deferral Order”). On March 4, 2020, Plaintiffs filed a Rule
37(d)(1)(B) certification. Dkt. 107. On May 11, 2020, Plaintiffs filed a Notice of Compliance, which
stated, inter alia, that “Defendant has not provided any response to Plaintiffs’ discovery requests and
continues to not participate in this litigation.” Dkt. 108 at 4.

On January 8, 2021, the Motion for Sanctions was granted-in-part. Dkt. 126 (the “Sanctions Order”). It
determined that, during the three-year pendency of this action, Cassidy failed to participate in discovery
or any other aspect of the proceedings. Dkt. 126 at 4. It noted that Cassidy had been warned of the
consequences of such conduct and had been provided a final chance to comply with his discovery
obligations. Id. Based on Cassidy’s continued failure to participate in this action, the Sanctions Order
determined that “Cassidy has exhibited the willfulness that justifies the imposition of” terminating
sanctions. Id.

Pursuant to Fed. R. Civ. P. 37(b)(2)(A)(i), the matters within the scope of the discovery propounded on
Cassidy, which are set forth in Exhibits D, E and F to the Declaration of Joel Athey (Dkt. 107-1), were
deemed admitted in a manner that is adverse to him. Dkt. 126 at 4. As noted, the Answer filed by
Cassidy (Dkt. 59) was stricken pursuant to Fed. R. Civ. P. 37(b)(2)(A)(iii), and the Clerk was directed to
enter the default of Cassidy. Id. Plaintiffs’ request for default judgment was denied without prejudice to
the filing of a motion for such relief on or before January 29, 2021. Id. After receiving an extension of
that deadline, Plaintiffs filed the Motion on February 19, 2021. Dkt. 131.

III.        Analysis

            A.    Legal Standards

                  1.     Procedural Requirements for Entry of Default Judgment

Local Rule 55-1 requires that a party moving for default judgment submit a declaration or include
information with respect to each of the following: (i) when and against which party default has been
entered; (ii) the identification of the pleading to which default has been entered; (iii) whether the
defaulting party is an infant or incompetent person, and if so, whether that person is represented by a
general guardian, committee, conservator or other representative; (iv) the Servicemembers Civil Relief
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Act, 50 App. U.S.C. § 3931 does not apply; and (v) notice has been provided to the defaulting party, if
required by Fed. R. Civ. P. 55(b)(2). C.D. Cal. Loc. R. 55-1.

                  2.     Substantive Standards for Entry of Default Judgment

Fed. R. Civ. P. 55(b) grants discretion to the trial court with respect to whether a default judgment
should be entered. Aldabe v. Aldabe, 616 F.2d 1089, 1092 (9th Cir. 1980). The entry of default does
not alone warrant or require the entry of a default judgment. Id. The Ninth Circuit has established seven
factors that may be applied in determining whether a default judgment is appropriate. Eitel v. McCool,
782 F.2d 1470, 1471-72 (9th Cir. 1986). They are: (i) the possibility of prejudice to the plaintiff; (ii) the
merits of plaintiff’s substantive claim; (iii) the sufficiency of the complaint; (iv) the sum of money at stake
in the action; (v) the possibility of a dispute concerning material facts; (vi) whether the default was due
to excusable neglect; and (vii) the strong policy favoring decisions on the merits. Id. “The general rule of
law is that upon default the factual allegations of the complaint, except those relating to the amount of
damages, will be taken as true.” Geddes v. United Fin. Grp., 559 F.2d 557, 560 (9th Cir. 1977).

            B.    Application

                  1.     Procedural Requirements

Plaintiffs have complied with Local Rule 55-1. Luke Furler, who was retained as an accountant by the
Trustee, submitted a declaration stating that default was entered against Cassidy on January 11, 2021.
Declaration of Luke Furler (“Furler Decl.”), Dkt. 131-2 ¶ 7. This is confirmed by the corresponding
docket entry. Dkt. 127. The Motion identifies the Complaint as the pleading to which Cassidy did not
respond and as to which default was entered. Dkt. 131 at 12. The Trustee submitted a declaration
stating that Cassidy is neither an infant nor an incompetent person. Declaration of Jonathan D. King
(“King Decl.”), Dkt. 131-1 ¶ 8. The Trustee declares that Cassidy is not in the military “or otherwise
entitled to the protection of the Servicemembers Civil Relief Act.” Id. ¶ 9. Finally, notice of the Motion
was served on Cassidy by electronic mail on February 19, 2021. Proof of Service, Dkt. 131-4 at 1.

                  2.     Eitel Factors

                         a)     The Possibility of Prejudice

A plaintiff is prejudiced if, absent the entry of a judgment, that party would be left without a remedy. See
Philip Morris USA, Inc., v. Castworld Prods., Inc., 219 F.R.D. 494, 499 (C.D. Cal. 2003) (“Plaintiff would
suffer prejudice if the default judgment is not entered because Plaintiff would be without other recourse
for recovery.”); PepsiCo v. Cal. Sec. Cans, 238 F. Supp. 2d 1172, 1177 (C.D. Cal. 2002) (“If Plaintiffs’
motion for default judgment is not granted, Plaintiffs will likely be without other recourse for recovery.”).
Cassidy’s failure to participate in this action has resulted in the entry of his default, and thus left
Plaintiffs with no remedy aside from default judgment. Accordingly, this factor weighs in favor of
granting the Motion.

                         b)    The Merits of Plaintiffs’ Substantive Claims and the Sufficiency of the
                         Complaint

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The second and third Eitel factors overlap because plaintiffs must properly state a claim and the
allegations contained in a complaint are deemed true. Thus, if the Complaint is sufficient, Plaintiffs’
substantive claims have merit for purposes of a request for the entry of default judgment. PepsiCo, 238
F. Supp. 2d at 1175; see also Danning v. Lavine, 572 F.2d 1386, 1388 (9th Cir. 1978) (allegations in
the complaint must state a claim upon which the plaintiff may recover). The second and third Eitel
factors “require that a [movant] ‘state a claim on which [it] may recover.’” PepsiCo, 238 F. Supp. 2d at
1175 (quoting Kloepping v. Fireman’s Fund, No. C 94-2684 TEH, 1996 WL 75314, at *2 (N.D. Cal. Feb.
13, 1996)).

As noted, the Complaint advances nine causes of action. Dkt. 1. Assuming the truth of the allegations,
as is required, see Geddes, 559 F.2d at 560, Plaintiffs have demonstrated that claims (iii), (v), (vi) and
(viii) each has merit as to Cassidy. They are addressed in that sequence.

                               (1)    RICO Violations – First Cause of Action

                                      (a)     General Allegations

The Racketeer Influenced and Corrupt Organizations Act (“RICO”) makes it “unlawful for any person
employed by or associated with any enterprise engaged in, or the activities of which affect, interstate or
foreign commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise's
affairs through a pattern of racketeering activity or collection of unlawful debt.” 18 U.S.C. § 1962(c).
Racketeering activities, which are also called “predicate acts,” are defined in 18 U.S.C. § 1961(1). They
include mail fraud, wire fraud, money laundering, bribery and securities fraud. A “pattern” “requires at
least two acts of racketeering activity, one of which occurred after the effective date of this chapter and
the last of which occurred within ten years (excluding any period of imprisonment) after the commission
of a prior act of racketeering activity.” 18 U.S.C. § 1961(5). There must be a demonstrable relationship
between the predicate acts and threatened continued activity to establish a pattern. Howard v. Am.
Online Co., Inc., 208 F.3d 741, 746, 749 (9th Cir.2000). “Related” conduct “embraces criminal acts that
have the same or similar purposes, results, participants, victims, or methods of commission, or
otherwise are interrelated by distinguishing characteristics and are not isolated events.” Id. (internal
quotation marks omitted). It is not enough to show only that the acts have the same participants. Id.

The RICO statute provides for a private right of action. 18 U.S.C. § 1964(c). To prevail on a civil RICO
claim, a plaintiff must prove “that the defendant engaged in (1) conduct (2) of an enterprise (3) through
a pattern (4) of racketeering activity and, additionally, must establish that (5) the defendant caused
injury to plaintiffs business or property.” Chaset v. Fleer/Skybox Int'l, LP, 300 F.3d 1083, 1086 (9th Cir.
2002). The Ninth Circuit has made it clear that when default judgment is sought under RICO, “pleading
requirements should be enforced strictly.” Alan Neuman Productions, Inc. v. Albright, 862 F.2d 1388,
1393 (1988). “Not only is the monetary penalty for failure to answer greatly enhanced by the provisions
for treble damages, but a defendant's reputation may be stigmatized.” Id.

The Complaint alleges that Cassidy, Tang and Asia Aviation “conducted an enterprise through a pattern
of racketeering activity that caused injury to the business and/or property of Plaintiffs.” Dkt. 1 ¶ 77. It
further alleges that Cassidy “engaged in multiple predicate acts within a 10-year period including (but
not limited to) wire fraud and interstate transportation of stolen property.” Id. ¶ 78. Plaintiffs claim, for
example, that Cassidy “made a secret deal with person(s) from Jetscraft from which [he] received an
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illegal kickback of approximately $2 million from each aircraft purchase without knowledge or consent of
Plaintiff[s] . . . by which [he] has misappropriated, conservatively, between $14 million and $18 million
dollars of company assets and/or opportunities.” Id. ¶ 54. The Complaint further alleges that Cassidy
“used a company jet (including crew services, fuel, and other company assets) to fly himself to Nice,
France without any payment or reimbursement . . . to take possession of a new multi-million dollar
motoryacht he purchased with misappropriated company funds.” Id. ¶ 48. It is alleged that the
“kickbacks inflated the price the company paid to acquire the various aircraft” and “inflated the financial
obligations of [Zetta PTE].” Id. ¶ 55.

Due the foregoing, the Complaint alleges that Cassidy’s “wrongful and illegal conduct . . . has
wrongfully deprived [Plaintiffs] of at least $20 million to $30 million.” Id. ¶ 56.

                                            (b)     Enterprise

A RICO “‘enterprise’ includes any individual, partnership, corporation, association, or other legal entity,
and any union or group of individuals associated in fact although not a legal entity.” 18 U.S.C. §
1961(4). Although the statute makes clear that a single such entity can be an “enterprise” unto itself, so
too are associated-in-fact groups of entities. Odom v. Microsoft Corp., 486 F.3d 541, 548 (9th Cir.
2007). The “enterprise” and the “pattern of racketeering activity” elements are distinct:

            The enterprise is an entity, for present purposes a group of persons associated together for a
            common purpose of engaging in a course of conduct. The pattern of racketeering activity is, on
            the other hand, a series of criminal acts as defined by the statute. The former is proved by
            evidence of an ongoing organization, formal or informal, and by evidence that the various
            associates function as a continuing unit. The latter is proved by evidence of the requisite
            number of acts of racketeering committed by the participants in the enterprise. While the proof
            used to establish these separate elements may in particular cases coalesce, proof of one does
            not necessarily establish the other. The ‘enterprise’ is not the ‘pattern of racketeering activity’; it
            is an entity separate and apart from the pattern of activity in which it engages.

United States v. Turkette, 452 U.S. 576, 583 (1981) (internal citations omitted). However, an
associated-in-fact enterprise “does not require any particular organizational structure, separate or
otherwise.” Odom, 486 F.3d at 551. Rather, such an enterprise is established by showing
the Turkette requirements: (a) a common purpose for (b) an ongoing organization (c) which functions
as a continuing unit. Id. at 552.

In Odom, the first element of “common purpose” was satisfied by allegations that two corporations had
associated for the purpose of fraudulently increasing the actual number of consumers who used certain
software. One corporation allegedly did so by distributing the software and collecting payment
information, while the other used the payment information to create customer accounts. Id. at 552. The
“ongoing organization” element was met by showing that the entities “formed a vehicle” for committing
two or more acts of fraud, such as a mechanism to transfer customers' financial information or a cross-
marketing agreement. Id.; see also United Energy Owners Comm., Inc. v. U.S. Energy Mgmt. Sys.,
Inc., 837 F.2d 356, 361 (9th Cir. 1988) (a RICO claim must “allege two or more RICO predicate acts,
occurring over a significant period of time, evidencing a threat of continuing activity”). The “continuing
unit” element was met by showing that the associated entities engaged in fraudulent activities during a
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period of several years, which did not require that they did so continuously or that both members were
involved in every act. Odom, 486 F.3d at 552-53.

Plaintiffs argue that “the Complaint pleads that Cassidy conducted an enterprise consisting of Cassidy,
Tang, and Asia Aviation.” Dkt. 131 at 14. Plaintiffs also argue that Tang and Asia Aviation “ha[ve] had a
separate existence from the enterprise and the other members, including distinct legal statuses.” Dkt.
131 at 14 (citing Dkt. 1 ¶¶ 8-13).

The Complaint alleges that Tang “knew of and/or participated in some or the above-alleged wrongful
conduct by her husband,” Cassidy, and that she “failed to prevent, report, and/or rectify such wrongful
conduct, although she was duty-bound to do so because she herself [was] a member of [Zetta PTE’s]
Board of Directors.” Dkt. 1 ¶ 57. It is alleged that Cassidy and Tang “took by deceit for their company
[Asia Aviation] two percent of [Zetta PTE’s] then issued and outstanding shares each from Plaintiffs”
Seagrim and Walter. Id. ¶ 66.

These allegations do not satisfy Plaintiffs’ “burden to identify what each individual did, when they did it,
and how they functioned together as a continuing unit.” Savory v. Collectors Universe, Inc., No. SA CV
20-00632, 2020 WL 4938464, at *6 (C.D. Cal. July 21, 2020). It is not clear, for example, what alleged
wrongful conduct Tang knew of or participated in. In support of the Motion, Plaintiffs only point to
“Cassidy’s racketeering activity” and his “intent to defraud.” Dkt. 131 at 14. In addition to a failure to
specify the separate roles of Tang and Asia Aviation, the Complaint fails adequately to allege any
common purpose. Thus, Plaintiffs do not plead with sufficient particularity that the three parties
associated for the purpose of engaging in the alleged racketeering activity.

Because Plaintiffs have failed sufficiently to plead an enterprise, entry of a default judgment against
Cassidy as to the RICO claim is unwarranted.

                               (2)     Intentional Misrepresentations (Fraud) – Second Cause of Action

“Under California law, the ‘indispensable elements of a fraud claim include a false representation,
knowledge of its falsity, intent to defraud, justifiable reliance, and damages.’” Vess v. Ciba-Geigy Corp.
USA, 317 F.3d 1097, 1105 (9th Cir. 2003) (internal citation omitted). “The absence of any one of these
required elements will preclude recovery.” Wilhelm v. Pray, Price, Williams & Russell, 186 Cal. App. 3d
1324, 1332 (1986).

Claims for fraud must meet the heightened pleading requirements of Fed. R. Civ. P. 9(b). Rule 9(b)
provides that “[i]n alleging fraud or mistake, a party must state with particularity the circumstances
constituting fraud or mistake.” Fed. R. Civ. P. 9(b). The Ninth Circuit has explained that Rule 9(b)
requires a party alleging fraud to state with particularity “the who, what, when, where, and how of
conduct charged.” Vess, 317 F.3d at 1106. Where the fraud at issue takes the form of an omission, the
nondisclosure claim must still be pleaded with particularity. Kearns v. Ford Motor Co., 567 F.3d 1120,
1127 (9th Cir. 2009).

Plaintiffs’ fraud claim against Cassidy is based on his alleged misrepresentations to Seagrim, Walter
and Li, “including (but not limited to): (a) that company funds and profits were going to the benefit of
[Plaintiffs]; and (b) that [Zetta PTE] nonetheless required the 2017 capital infusion.” Dkt. 1 ¶ 84.
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Specifically, it is alleged that, in June 2017, Cassidy misrepresented to Seagrim and Walter “that it was
necessary to give up more of their [Zetta PTE] ownership to obtain additional capital infusion from an
outside investor.” Id. ¶ 62. It is also alleged that Cassidy misrepresented to Seagrim and Walter that
Seagrim, Walter, and Asia Aviation “would each give up shares held by them in [Zetta PTE] equaling
seven percent of the shares then issued and outstanding by the company . . . in exchange for further
investment by Truly Great Global Limited.” Id. ¶ 63. It is alleged that Truly Great Global Limited “had
actually only requested 10 percent of the company’s shares then issued and outstanding, not 21
percent as [Cassidy] had misrepresented to Plaintiffs” Seagrim and Walter. Id. ¶ 64. Plaintiffs claim that
Asia Aviation “did not contribute shares equal to seven percent of the shares of [Zetta PTE] (or in fact
any shares at all) to the 2017 capital infusion deal with Truly Great Global Limited.” Id. ¶ 65.

The Complaint then alleges that Cassidy “took by deceit for . . . [Asia Aviation] two percent of [Zetta
PTE’s] then issued and outstanding shares each from Plaintiffs” Seagrim and Walter. Id. ¶ 66.
Cassidy’s alleged misrepresentations harmed Plaintiffs by “dilut[ing] the ownership interest of Plaintiff
[Walter] from approximately 30 percent to approximately 23 percent of shares of [Zetta PTE],” id. ¶ 68,
and “dilut[ing] the ownership interest of Plaintiff [Seagrim] from approximately 33.3 percent to
approximately 13 percent of shares of [Zetta PTE],” id. ¶ 70. These allegations are sufficient to show
harm to Seagrim and Walter; however, the Complaint does not allege any specific harm to Zetta PTE
and Zetta USA. There is only a conclusory allegation that Zetta PTE and Zetta USA were harmed by
Cassidy’s representations. See id. ¶ 90.

Accordingly, Plaintiffs have not adequately alleged a basis for the intentional misrepresentation claim
against Cassidy.

                               (3)    Concealment – Third Cause of Action

Under California law, the following are the elements of a cause of action for fraudulent concealment:
“(1) the defendant must have concealed or suppressed a material fact, (2) the defendant must have
been under a duty to disclose the fact to the plaintiff, (3) the defendant must have intentionally
concealed or suppressed the fact with the intent to defraud the plaintiff, (4) the plaintiff must have been
unaware of the fact and would not have acted as he did if he had known of the concealed or
suppressed fact, and (5) as a result of the concealment or suppression of the fact, the plaintiff must
have sustained damage.” Boschma v. Home Loan Ctr., Inc., 198 Cal. App. 4th 230, 248 (2011) (quoting
Hahn v. Mirda, 147 Cal. App. 4th 282, 292 (2007).

“In order to establish fraudulent concealment, the complaint must show: (1) when the fraud was
discovered; (2) the circumstances under which it was discovered; and (3) that the plaintiff was not at
fault for failing to discover it or had no actual or presumptive knowledge of facts sufficient to put him on
inquiry.” Raifman v. Wachovia Secs., LLC, 649 F. App’x. 611, 613 (9th Cir. 2016) (quoting Baker v.
Beech Aircraft Corp., 39 Cal. App. 3d 315, 321 (1974)); see also Platt Elec. Supply v. EOFF Elec., Inc.,
522 F.3d 1049, 1055 (9th Cir. 2008) (same). “[W]here no duty is imposed by law to make inquiry, and
where, under the circumstances, a prudent man would not be put on inquiry, the mere fact that means
of knowledge are open and not availed of does not operate to give constructive notice of the
facts.” Bally v. State Farm Life Ins. Co., No. 18-cv-04954, 2019 WL 3891149, at *3 (N.D. Cal. Aug. 19,
2019) (quoting Baker, 39 Cal. App. 3d at 321-22); see also Weatherly v. Universal Music Publ’g Grp.,
125 Cal. App. 4th 913, 919 (2004).
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The Complaint alleges that Cassidy

            intentionally failed to disclose important facts to Plaintiffs . . . including (but not limited to): (a)
            that he was misappropriating corporate funds, assets, and opportunities; (b) that his wrongful
            conduct caused the company’s financial crisis and resultant need for outside capital; (c) that he
            was lying about intending to contribute seven percent of [Asia Aviation’s] shares in [Zetta PTE]
            to the 2017 capital infusion deal with Truly Great Global Limited; and/or (d) that Truly Great
            Global Limited had actually only requested 10 percent of the company’s shares (not 21 percent)
            in the 2017 capital infusion deal.

Dkt. 1 ¶ 97.

Plaintiffs claim that Cassidy “concealed such important facts by . . . lying in his communications with
Plaintiffs; and removing (and/or directing others to remove) incriminating information from financial
documents and other company records.” Id. ¶ 98. The Complaint further alleges that (i) “Plaintiffs were
not aware of such concealed facts”; (ii) Cassidy “intended to deceive Plaintiffs by concealing the facts”;
(iii) “Plaintiffs reasonably relied on [his] deception”; and (iv) “Plaintiffs were harmed.” Id. ¶¶ 100-103.

As to allegations (b), (c) and (d), Plaintiffs again fail to allege that the purported misrepresentations
harmed them rather than Seagrim and Walter. However, Plaintiffs have sufficiently alleged a claim for
fraudulent concealment as to Cassidy’s purported failure to disclose his misappropriation of corporate
funds, assets and opportunities.

                                    (4)     False Promises – Fourth Cause of Action

“To maintain an action for deceit based on a false promise, one must specifically allege and prove,
among other things, that the promisor did not intend to perform at the time he or she made the promise
and that it was intended to deceive or induce the promisee to do or not do a particular thing.” Tarmann
v. State Farm Mut. Auto. Ins. Co., 2 Cal. App. 4th 153, 159 (1991). “Given this requirement, an action
based on a false promise is simply a type of intentional misrepresentation, i.e., actual fraud.” Id.
(emphasis in original).

The Complaint alleges that Cassidy “made false promises to Plaintiffs regarding the Capital Infusion
Deal with Truly Great Global Limited.” Dkt. 1 ¶ 106. As stated with respect to the preceding claims in
fraud, Plaintiffs have not sufficiently alleged that they were harmed by the purported misrepresentations
made to Seagrim and Walter in connection with the Capital Infusion Deal. Thus, Plaintiffs have not
provided a sufficient basis for the claim for false promises as to Cassidy.

                                    (5)     Conversion – Fifth Cause of Action

Conversion is the wrongful exercise of dominion over another's personal property. See De Vries v.
Brumback, 53 Cal. 2d 643, 647 (1960) (defining conversion as “an act of willful interference with a
chattel, done without lawful justification, by which any person entitled thereto is deprived of the use and
possession”). “The elements of a conversion are the plaintiff's ownership or right to possession of the
property at the time of the conversion; the defendant's conversion by a wrongful act or disposition of
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property rights; and damages.” Oakdale Vill. Grp. v. Fong, 43 Cal. App. 4th 539, 543-44 (1996), as
modified on denial of reh'g (Apr. 10, 1996). “[P]laintiff must establish an actual interference with
his ownership or right of possession . . . . Where plaintiff neither has title to the property alleged to have
been converted, nor possession thereof, he cannot maintain an action for conversion.” Moore v.
Regents of Univ. of Cal., 51 Cal. 3d 120, 136 (1990) (emphasis in original) (quoting Del E. Webb Corp.
v. Structural Materials Co., 123 Cal. App. 3d 593, 610-11 (1981)).

Plaintiffs allege that Cassidy “wrongfully exercised control over personal property of Plaintiffs.” Dkt. 1
¶ 116. Specifically, Cassidy is alleged to have “intentionally and substantially interfered with the[ir]
personal property by . . . using company funds and assets for personal purchases and free
transportation; taking illegal kickbacks of funds from aircraft acquisitions that rightfully belonged to the
company; and destroying business goodwill and reputation.” Id. ¶ 121.

Accordingly, taking the allegations of the Complaint as true, Plaintiffs’ conversion claim is sufficiently
stated as to Cassidy.

                               (6)     Breach of Fiduciary Duty – Sixth Cause of Action

“The elements of a cause of action for breach of fiduciary duty are: (1) the existence of a fiduciary duty;
(2) the breach of that duty; and (3) damage proximately caused by that breach.” Mosier v. S. Cal.
Physicians Ins. Exch., 63 Cal. App. 4th 1022, 1044 (1998). For a fiduciary duty to exist, a person “must
either knowingly undertake to act on behalf and for the benefit of another, or must enter into a
relationship which imposes that undertaking as a matter of law.” City of Hope Nat'l Med. Ctr. v.
Genentech, Inc., 43 Cal. 4th 375, 386 (2008).

Under the corporate opportunity doctrine, a fiduciary may not acquire or usurp a corporate opportunity
available to the principal. See Robinson, Leatham & Nelson, Inc. v. Nelson, 109 F.3d 1388,1392 (9th
Cir. 1997) (citing Kelegian v. Mgrdichian, 33 Cal. App. 4th 982 (1995)). A fiduciary may not “seize for
himself to the detriment of his company business opportunities in the company's line of activities which
the company has an interest and prior claim to obtain.” Premier Displays & Exhibits v. Cogswell, No. SA
CV 09-354, 2009 WL 8623588, at *10 (C.D. Cal. Dec. 23, 2009) (quoting Industrial Indem. Co. v.
Golden State Co., 117 Cal. App. 2d 519, 534 (1953)).

The Complaint alleges that Cassidy “stood in a fiduciary relationship with the company, such that he
owed duties to act in sound discretion and in the best interests of [Zetta PTE] and not to favor his own
interests at the expense of [Zetta PTE] and its shareholders.” Dkt. 1 ¶ 127. It further alleges that
Cassidy “breached his fiduciary duties to [Zetta PTE] by . . . misappropriating corporate funds, assets,
and opportunities; using company funds and assets for personal purchases and transportation; and
taking illegal kickbacks of funds from aircraft acquisitions that rightfully belonged to [Zetta PTE].” Id.
¶ 128. Cassidy “held himself out as Managing Director of [Zetta PTE].” Id. ¶ 9. While holding himself out
as such, Plaintiffs claim that he “enriched himself without [their] knowledge or consent” by, for example,
“using company funds to purchase and renovate real estate, including homes in France and
Singapore.” Id. ¶ 42. The Complaint also provides other examples of conduct by Cassidy without the
knowledge or consent of Plaintiffs and in breach of his duty as its “Managing Director.” See id. ¶¶ 41-
48.

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For these reasons, the Complaint sufficiently alleges the claim for breach of fiduciary duty as to
Cassidy.

                               (7)     Abuse of Control – Seventh Cause of Action

Plaintiffs allege that Cassidy “exercised control over [Zetta PTE] and its operations, and owed fiduciary
duties not to use his position of control . . . for his own personal interests and contrary to the interests of
[Zetta PTE] and other shareholders.” Dkt. 1 ¶ 137. This claim for abuse of control overlaps with the
claim for breach of fiduciary duty. Therefore, it need not be considered as a separate cause of action.
See In re Doorman Prop. Maint., No. 15-30912 DM, 2017 WL 90332, at *1 (Bankr. N.D. Cal. Jan. 10,
2017) (“Defendants concede that the facts alleged (albeit disputed) in the first claim could give rise to a
claim for breach of fiduciary duty, but seek dismissal of the second claim for ‘breach of fiduciary duty by
abuse of control’ as duplicative and unrecognized as a separate tort under California law. The court
agrees.”); see also In re MRV Commc’ns, Inc. Derivative Litig., No. CV 08-03800, 2010 WL 5313442, at
*13 (C.D. Cal. Dec. 27, 2010) (quoting In re Citigroup Inc. S'holder Derivative Litig., 964 A.2d 106, 115
n.6 (Del. Ch. 2009) (“Delaware law . . . ‘does not recognize an independent cause of action against
corporate directors and officers for reckless and gross management; such claims are treated as claims
for breach of fiduciary duty.’”)).

                               (8)     Corporate Waste – Eighth Cause of Action

“Claims of corporate waste in California are based upon Delaware state law.” Swingless Golf Club
Corp. v. Taylor, 679 F. Supp. 2d 1060, 1070 (N.D. Cal. 2009). “Delaware courts have explained that the
legal test for waste is ‘severe.’” Navellier v. Sletten, 262 F.3d 923, 937 (9th Cir. 2001) (citing Glazer v.
Zapata Corp., 658 A.2d 176, 183 (Del. Ch. 1993)). “Directors are guilty of corporate waste, only when
they authorize an exchange that is so one sided that no business person of ordinary, sound judgment
could conclude that the corporation has received adequate consideration.” Id. (quoting Glazer, 658
A.2d at 183).

As the company’s “Managing Director,” Dkt. 1 ¶ 9, Cassidy “had a fiduciary duty to exercise good faith
and diligence in the administration of the affairs of [Zetta PTE] and in the use and preservation of its
property and assets,” id. ¶ 143. Plaintiffs claim that Cassidy “wasted corporate assets by . . .
misappropriating corporate funds, assets, and opportunities; using company funds and assets for
personal purchases and transportation; and taking illegal kickbacks of funds from aircraft acquisitions
that rightfully belonged to [Zetta PTE].” Id. ¶ 144. For example, “without knowledge and consent of
Plaintiff[s] . . . and without the determination of the Board of Directors as a whole, . . . [Cassidy] us[ed]
company funds to purchase at least three luxury automobiles in Singapore valued conservatively at
between $2 million and $3 million.” Id. ¶ 43. Plaintiffs claim that Cassidy continued to use company
funds without their knowledge and consent on various occasions. See id. ¶¶ 41-48.

The foregoing allegations are sufficient to state a claim for corporate waste.

                               (9)     Unjust Enrichment – Ninth Cause of Action

Plaintiffs allege that Cassidy’s breach of fiduciary duties, which unjustly conferred upon him
“compensation, kickbacks and other benefits,” constituted common law unjust enrichment. Dkt. 1 ¶ 150.
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However, “[i]n California there is no cause of action for unjust enrichment; it is a ‘general principle,
underlying various legal doctrines and remedies, rather than a remedy itself.’” Bosinger v. Belden CDT,
Inc., 358 F. App'x 812, 815 (9th Cir. 2009) (citing Melchior v. New Line Prods., Inc., 106 Cal. App. 4th
779, 793 (2003)); see also Exp.-Imp. Bank of the U.S. v. United Cal. Disc. Corp., 738 F. Supp. 2d 1047,
1060 (C.D. Cal. 2010) (aff'd, 484 F. App’x. 91 (9th Cir. 2012)) (citing Melchior, 106 Cal. App. 4th at 793)
(“[T]here is no cause of action in California for unjust enrichment.”); Rosal v. First Fed. Bank of
California, 671 F. Supp. 2d 1111, 1133 (N.D. Cal. 2009); but see Paracor Fin., Inc. v. Gen. Elec. Capital
Corp., 96 F.3d 1151, 1167 (9th Cir. 1996) (“[U]njust enrichment is an action in quasi-contract.”).

Because unjust enrichment is not an independent cause of action in California, Plaintiffs have not
shown that this claim has merit.

                       c)      The Sum of Money at Stake in the Action

Under the fourth Eitel factor, “the court must consider the amount of money at stake in relation to the
seriousness of Defendant’s conduct.” PepsiCo, 238 F. Supp. 2d at 1176. Default judgment is
discouraged when the amount of money at stake in the litigation is “too large or unreasonable in light of
defendant’s actions.” Truong Giang Corp. v. Twinstar Tea Corp., No. C 06-03594, 2007 WL 1545173,
at *12 (N.D. Cal. May 29, 2007); see also Eitel, 782 F.2d at 1472 ($3 million judgment, considered in
light of parties’ dispute as to material facts, supported the decision not to enter default judgment).
However, where the sum of money at stake is tailored to the specific misconduct of the defendant,
default judgment may be appropriate. See Board of Trs. of the Sheet Metal Workers Health Care Plan
v. Superhall Mech., Inc., No. 10 2212, 2011 WL 2600898, at *2 (N.D. Cal. June, 30 2011) (the amount
of unpaid contributions, liquidated damages, and attorney's fees were appropriate as each was
supported by adequate evidence provided by plaintiffs).

Plaintiffs seek a judgment of $39,015,283, which includes attorney’s fees and costs of litigation, as well
as any punitive damages that are deemed appropriate. Dkt. 131 at 23. Plaintiffs claim that “[t]his
amount is proportionate to the destruction Cassidy left in his wake: the millions of dollars he
misappropriated for his personal benefit, the hundreds of millions of dollars in vastly overpriced planes
that he caused the Plaintiffs to buy in exchange for kickbacks, the potentially viable business he
destroyed.” Id. at 18. Plaintiffs further claim that the amount is “also appropriate here because of
Cassidy’s malice and deceit, the enormity and duration of Cassidy’s intentional and outrageous
wrongdoing, and the need to deter him from similar fraudulent and tortious behavior in the future.” Id.

Plaintiffs’ arguments have some force. However, the large sum requested nevertheless weighs against
default judgment.

                       d)      The Possibility of a Dispute Concerning Material Facts

Upon entry of default, all facts pleaded in the complaint are taken as true, except those as to damages.
See TeleVideo Sys., Inc. v. Heidenthal, 826 F.2d 915, 917-18 (9th Cir. 1987). Although it is possible
that Cassidy could dispute some or all of the material facts, his failure to participate in this action shows
that is unlikely. Moreover, the matters within the scope of the discovery propounded on Cassidy as to
various issues were admitted in a manner adverse to him. Dkt. 126 at 4. Therefore, the fifth Eitel factor
weighs in favor of granting the Motion.
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                       e)      Whether Default Was Due to Excusable Neglect

The sixth Eitel factor considers the possibility that the default resulted from excusable neglect of the
non-moving party. See Eitel, 782 F.2d at 1472. Excusable neglect is “an equitable concept that takes
account of factors such as prejudice, the length of delay and impact on judicial proceedings, the reason
for the delay, including whether it was within the reasonable control of the movant, and whether the
movant acted in good faith.” Franchise Holding II, LLC v. Huntington Restaurants Group, Inc., 375 F.3d
922, 927 (9th Cir. 2004) (internal quotation marks omitted) (citing TCI Grp. Life Ins. Plan v. Knoebber,
244 F.3d 691, 696 (9th Cir. 2001)).

There has been no showing that Cassidy’s failure to participate in this litigation was the result of
excusable neglect. To the contrary, the Sanctions Order found that Cassidy failed to participate in
discovery or any other aspect of the proceedings since the filing of the Complaint in 2017, and that he
“exhibited the willfulness that justifies the imposition of” terminating sanctions. Dkt. 126 at 4.
Accordingly, the sixth Eitel factor weighs in favor of granting the Motion.

                       f)      The Policy Favoring Decision on the Merits

The final Eitel factor generally disfavors the entry of default judgment. However, “this preference is not
dispositive. When a defendant fails to answer a . . . complaint, a decision on the merits is impractical, if
not impossible. Therefore, the preference to decide cases on the merits does not preclude a court from
granting default judgment.” United States v. One Glock 19, No. C-0605412, 2007 WL 2438361, at *3
(N.D. Cal. Aug. 23, 2007) (citations and quotations omitted); accord PepsiCo, 238 F. Supp. 2d at 1177
(the preference against default judgment is not dispositive, so courts are not precluded from granting a
default judgment). Further, the failure of a defendant to respond or object makes a decision on the
merits impracticable if not impossible. Therefore, the final Eitel factor does not preclude the entry of
default judgment.

                                       *              *              *

Based on a review and balancing of the Eitel factors, the Motion is GRANTED as to claims (iii), (v), (vi)
and (viii), subject to a separate assessment of the requested relief.

                3.     Relief Sought

Under the Federal Rules of Civil Procedure, a “default judgment must not differ in kind from, or exceed
in amount, what is demanded in the pleadings.” Fed. R. Civ. P. 54(c). Further, the demand for relief
must be specific. Fed. R. Civ. P. 8(a)(3). Therefore, “a default judgment must be supported by specific
allegations as to the exact amount of damages asked for in the complaint.” Philip Morris, 219 F.R.D. at
499. In addition, “Plaintiff must ‘prove up’ the amount of damages that it is claiming.” Id. at 501. “In
determining damages, a court can rely on the declarations submitted by the plaintiff or order a full
evidentiary hearing.” Id. at 498 (citing Fed. R. Civ. P. 55(b)(2)). “However, if the facts necessary to
determine damages are not contained in the complaint, or are legally insufficient, they will not be
established by default.” Id.

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Plaintiffs seek a monetary judgment of $39,015,283 which includes: (i) compensatory damages for the
amount of alleged kickbacks and commercial bribes, totaling $1,086,459; (ii) compensatory damages
for the amount of funds Cassidy misappropriated, totaling $11,662,457; (iii) trebling of the two
preceding sums under the RICO Act; and (iv) Plaintiffs’ attorney’s fees and costs in the sum of
$768,535. Dkt. 131 at 19-22. The amounts requested for compensatory damages are also requested as
a form of restitution. Id. at 23. Plaintiffs also seek an award of punitive damages deemed appropriate by
the Court. Id. at 22-23.

                           a)      Compensatory Damages

Plaintiffs’ request for compensatory damages is supported by the Furler Declaration. It is also
supported by the Sanction’s Order. It determined that matters within the scope of discovery propounded
on Cassidy were admitted in a manner adverse to him. This provides the following support for the
request for compensatory damages:

    (1)     “Cassidy received two payments of $500,000 each from Jetcraft to Cassidy personally that were
            included in the price of two planes purchased by the Plaintiffs.” Dkt. 131 at 20; Furler Decl., Dkt.
            131-2 ¶ 8; see Dkt. 107-1 at 24-25 (admitting in a manner adverse to Cassidy the matters within
            the scope of the discovery propounded on him seeking his position and evidence as to “ANY
            payments or items of value . . . that [Cassidy] received from JETCRAFT”).
    (2)     “Cassidy also received a credit worth $42,569 on an obligation that he personally owed to
            Fazal-Karim on June 2, 2017 relating to the yacht Nyota.” Dkt. 131 at 20; Furler Decl., Dkt. 131-
            2 ¶ 8; see Dkt. 107-1 at 64 (Cassidy admitting that he “and Jahid Fazal-Karim entered into an
            agreement or other understanding to acquire the vessel known as the Nyota”); see also Dkt.
            107-1 at 23 (admitting in a manner adverse to Cassidy the matters within the scope of the
            discovery propounded on him seeking his position and evidence as to “ALL material facts
            RELATED TO [Cassidy’s] relationship with Jahid Fazal-Karim” and “ANY payments or items of
            value . . . that [Cassidy] received from Jahid Fazal-Karim”).
    (3)     “Cassidy personally received F1 Tickets from Bombardier worth $43,890 on July 20, 2016.” Dkt.
            131 at 20; Furler Decl., Dkt. 131-2 ¶ 9; see Dkt. 107-1 at 64 (Cassidy admitting that he “received
            payments or items of value . . . from BOMBARDIER”); see also Dkt. 107-1 at 25-26 (admitting in
            a manner adverse to Cassidy the matters within the scope of the discovery propounded on him
            seeking his position and evidence as to “ALL material facts RELATING TO ANY transactions
            between ZETTA and BOMBARDIER” and “any payments . . . that [Cassidy] received from
            BOMBARDIER”).
    (4)     “Cassidy caused the Plaintiffs to pay $3,324,105 in a series of five transactions on March 24,
            2016, May 14, 2016, August 16, 2016, September 12, 2016, and December 5, 2016, to
            purchase the yacht Dragon Pearl in 2016.” Furler Decl., Dkt. 131-2 ¶ 10; Dkt. 131 at 21; see
            Dkt. 107-1 at 26, (admitting in a manner adverse to Cassidy the matters within the scope of the
            discovery propounded on him seeking his position and evidence regarding “ALL material facts
            RELATED TO YOUR purchase, operations, sale, transfer, payroll, and insurance of the Dragon
            Pearl”); see also Dkt. 107-1 at 47 (admitting in a manner adverse to Cassidy the matters within
            the scope of the discovery propounded on him seeking his position and evidence as to the
            contents of “ALL DOCUMENTS including COMMUNICATIONS, RELATING TO ANY vehicles
            purchased, used, or operated by [Cassidy] or on [Cassidy’s] behalf using ZETTA’s funds”).

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    (5)     “Cassidy also caused the Plaintiffs to pay additional expenses relating to the Dragon Pearl of
            $427,640. Cassidy also caused the Plaintiffs to pay $84,122 for one car and $302,070 for a
            second car.” Furler Decl., Dkt. 131-2 ¶ 10; Dkt. 131 at 21; see Dkt. 107-1 at 65 (Cassidy
            admitting that he “purchased vehicles for personal use using ZETTA’s funds”).
    (6)     “Cassidy used aircraft owned by the Plaintiffs to make trips worth $1,029,056 that were not
            invoiced by the Plaintiffs.” Furler Decl., Dkt. 131-2 ¶ 11; Dkt. 131 at 21; see Dkt. 107-1 at 65
            (Cassidy admitting that he “flew on ZETTA’s aircraft for personal reasons unrelated to ZETTA
            activities”).
    (7)     “Cassidy caused the Plaintiffs to make payments totaling $967,964 to purchase 3 Ardmore
            Park, Unit 20-01, Singapore 259950, make renovations to the property, and pay various other
            expenses relating to that property.” Furler Decl., Dkt. 131-2 ¶ 12; see Dkt. 131 at 21; Dkt. 107-1
            at 40 (admitting in a manner adverse to Cassidy the matters within the scope of the discovery
            propounded on him seeking his position and evidence as to the contents of “ALL DOCUMENTS,
            including COMMUNICATIONS, RELATED TO [Cassidy’s] purchase of 3 Ardmore Park, unit
            #20-01 in Singapore”).
    (8)     “Cassidy charged corporate credit cards for accommodation, overseas transport and travel,
            food, and entertainment without identifying appropriate business purposes in an amount totaling
            $455,877 and for other personal expenses in an amount totaling $404,918.” Furler Decl., Dkt.
            131-2 ¶ 13; Dkt. 131 at 21; see Dkt. 107-1 at 46-47 (admitting in a manner adverse to Cassidy
            the matters within the scope of the discovery propounded on him seeking his position and
            evidence as to the contents of “ALL DOCUMENTS supporting the fact that transactions on
            [Cassidy’s] corporate credit card were for ZETTA-related business purposes”).
    (9)     “Cassidy also submitted claims for reimbursement and was paid by the Plaintiffs for
            accommodation, overseas transport and travel, food, and entertainment without identifying
            appropriate business purposes in an amount totaling $805,481 and for personal expenses
            totaling $101,211.” Furler Decl., Dkt. 131-2 ¶ 14; Dkt. 131 at 21.
(10)        “Cassidy caused the Plaintiffs to pay $93,347 for his personal income taxes.” Furler Decl., Dkt.
            131-2 ¶ 15; Dkt. 131 at 21; see Dkt. 107-1 at 26 (admitting in a manner adverse to Cassidy the
            matters within the scope of the discovery propounded on him seeking his position and evidence
            regarding “ALL material facts RELATED TO YOUR purchase, operations, sale, transfer, payroll,
            and insurance of the Dragon Pearl”).
(11)        “Cassidy caused the Plaintiffs to transfer $3,666,666 from the Plaintiffs’ HSBC bank account to
            Cassidy’s personal bank account on or about September 22, 2016.” Furler Decl., Dkt. 131-2
            ¶ 16; see Dkt. 107-1 at 47 (admitting in a manner adverse to Cassidy the matters within the
            scope of the discovery propounded on him seeking his position and evidence as to the contents
            of “ALL DOCUMENTS, including COMMUNICATIONS, related to a payment of $3,666,666 to
            [Cassidy] on September 22, 2016 . . . at HSBC Singapore”).

These amounts total $12,748,916 in “wrongfully retained illicit proceeds, including kickbacks,
commercial bribes, and direct and indirect benefits.” Dkt. 131 at 23.3

                           b)     Treble Damages

3
 The calculation is as follows: $500,000 + $500,000 + $42,569 + $43,890 + $3,324,105 + $427,640 + $84,122 +
$302,070 + $1,029,056 + $967,964 + $455,877 + $404,918 + $805,481 + $101,211 + $93,347 + 3,666,666 =
$12,748,916.
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Plaintiffs seek treble damages under the RICO Act. 18 U.S.C. § 1964(c) (“Any person injured in his
business or property by reason of a violation of section 1962 . . . may sue . . . and shall recover
threefold the damages he sustains . . . .”). Since Plaintiffs have not sufficiently alleged their RICO claim,
they are not entitled to treble damages.

                         c)    Restitution

Plaintiffs seek “[r]estitution in the form of disgorgement of all illicit proceeds generated as a result of
Cassidy’s alleged conduct.” Dkt. 131 at 23. Specifically, Plaintiffs claim that restitution is appropriate
because “Cassidy has wrongfully retained illicit proceeds, including the kickbacks, commercial bribes,
and direct and indirect benefits . . . in the amount of $12,748,916.” Id. (citing King Decl. ¶¶ 15, 24). The
amount requested has already been discussed and awarded in the form of compensatory damages.
Thus, an award of these damages in the form of restitution would be duplicative and is inappropriate.

                         d)    Attorney’s Fees and Costs

Reasonable attorney’s fees may be recovered for violations of the RICO Act pursuant to 18 U.S.C. §
1964(c)., Local Rule 55-3 sets forth a schedule for awarding attorney’s fees where they are recoverable
under a statute.

Plaintiffs seek an award of $768,535 in attorney’s fees under 18 U.S.C. § 1964(c) and in accordance
with the schedule set forth by L.R. 55-3. Dkt. 131 at 22. However, because Plaintiffs have not
sufficiently alleged a violation of the RICO Act, no fee award is warranted under U.S.C. § 1964(c).
Plaintiffs provide no other argument or evidence to support an award of attorney’s fees. Accordingly,
the request for a fee award is DENIED.

                         e)    Punitive Damages

Plaintiffs seek the award of punitive damages based on “Cassidy’s malice and deceit, . . . the enormity
and duration of Cassidy’s intentional and outrageous wrongdoing, and . . . the need to deter him from
similar fraudulent and tortious behavior in the future.” Dkt. 131 at 22-23.

Cal. Civ. Code § 3294(a) provides that punitive damages may be awarded “where it is proven by clear
and convincing evidence that the defendant has been guilty of oppression, fraud, or malice . . . .”
Plaintiffs have made some showings in support of the claim for punitive damages. However, in light of
the amount of the award of general damages, and that the request for punitive damages is made in a
default proceeding, it is determined that such an award is not presently warranted in this action.

V.          Conclusion

For the reasons stated in this Order, the Motion is GRANTED-IN-PART. A judgment of $12,748,916
shall be entered in favor of Plaintiffs and against Cassidy.

Plaintiffs shall submit a proposed Judgment within 10 days of the entry of this Order.

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                                       #:2443
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA


                                     CIVIL MINUTES – GENERAL

    Case No.   LA CV17-06648 JAK (GJSx)                                    Date    September 1, 2021
    Title      James N.H. Seagrim et al. v. Geoffery Owen Cassidy et al.
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IT IS SO ORDERED.


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                                                          Initials of Preparer    TJ




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